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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS




UNITED STATES OF AMERICA, ET AL.,

                       Plaintiffs,
                                                      Civil Action No. 1:23-cv-10511-WGY
                      v.

JETBLUE AIRWAYS CORPORATION, ET AL.,

                       Defendants.




GABRIEL GARAVANIAN, ET AL.,

                       Plaintiffs,
v.                                                   Civil Action No. 1:23-cv-10678-WGY

JETBLUE AIRWAYS CORPORATION, ET AL.,

                       Defendants.



                    MEMORANDUM IN SUPPORT OF
     SOUTHWEST AIRLINES CO.’S MOTION TO INTERVENE FOR A LIMITED
                              PURPOSE

       Southwest Airlines Co. (“Southwest”) hereby submits this Memorandum in Support of its

Motion for Leave to Intervene For a Limited Purpose, filed pursuant to Rule 24(a)(2) and

(b)(1)(B) of the Federal Rules of Civil Procedure and Local Rule 7.1. Pursuant to Rule 24(c)’s

requirement to provide an accompanying pleading that sets out the claims for which intervention

is sought, Southwest hereby files concurrently its Objections of Southwest Airlines Co. to


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Production of Highly Confidential Information to Private Action Plaintiffs (“Southwest

Objections”).

I.     Background

       The Southwest Objections provide the factual and legal basis for Southwest’s concerns.

In summary, Southwest objects to a proposed Order filed by the parties in both the Government

Action (23-cv-10511) and the Private Action (23-cv-10678) that would allow defendants to

produce Southwest highly confidential documents from the Government Action to the Private

Action Parties. See [Proposed] Stipulated Joint Protective Order and Order Governing

Production of Investigation Materials, Government Action, Dkt #97 & 97-1 (“the Proposed

Order”).

       The Proposed Order provides a limited period of time for non-parties to object to such an

outcome and seek additional protection from the Court. Id. at ¶ 25. While the appropriate

procedural mechanism for stating such objections is not clear, the First Circuit has held that

“intervention is ‘the procedurally correct course’ for third-party challenges to protective orders.”

Public Citizen v. Liggett Group, Inc., 858 F.2d 775, 783-84 (1st Cir. 1988) (quoting In re Beef

Industry Antitrust Litig., 589 F.2d 786, 789 (5th Cir. 1979) (emphasis in original)). Accordingly,

Southwest seeks to intervene for the limited purpose of protecting the confidentiality of its

information for the reasons set forth in the Southwest Objections. See also Scalia v. Tara Constr.

Inc., 2020 WL 583235, at *1 (19-cv-10369, D. Mass. Oct. 7, 2020) (granting motion to intervene

for limited purpose of protecting confidentiality of personal information).

II.    Argument

       Under Fed. R. Civ. P. 24(a)(2), “[o]n timely motion, the court must permit anyone to

intervene who … claims an interest relating to the property or transaction that is the subject of



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the action, and is so situated that disposing of the action may as a practical matter impair or

impede the movant’s ability to protect its interest, unless existing parties adequately represent

that interest.” See also Public Citizen, 858 F.2d at 783 (explaining that intervention is more

orderly process than informal motion for non-parties to address protective order issues).

       The First Circuit has set out a four-part test for intervention as of right: (a) the application

must be timely; (b) the applicant must have an interest relating to the property or transaction

which is the basis of the action; (c) the applicant must be so situated that the disposition of the

action may set up a practical impediment to its ability to protect that interest; and (d) the

applicant must show that existing parties do not adequately represent its interests. See Public

Serv. Co. of New Hampshire v. Patch, 136 F.3d 197, 204 (1st Cir. 1998); Travelers Indem. Co. v.

Dingwell, 884 F.2d 629, 637 (1st Cir. 1989). Southwest’s motion satisfies these requirements:

       Timeliness: Southwest is filing this motion upon learning of the parties’ plan to produce

Southwest confidential information to the parties in the Private Action and within the time

strictures that the parties sua sponte established in ¶ 25 of the Proposed Order. As such,

Southwest’s motion is timely and there is no prejudice to the existing parties. See R&G Mortg.

Corp. v. Fed. Home Loan Mortg. Corp., 584 F.3d 1, 7 (1st Cir. 2009) (setting forth test for

determining timeliness of motion to intervene).

       Southwest’s Interests: Southwest undeniably has an interest in the confidentiality of its

materials and will be prejudiced if it is not allowed to intervene. As set forth in Southwest’s

Objections, the wholesale production of its confidential documents to Private Action plaintiffs

significantly increases the risks of their disclosure and deprives Southwest of the opportunity to

ensure its rights under the Federal Rules of Civil Procedure.




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       Potential Impairment of Southwest’s Interests: Without relief from this Court,

defendants are going to produce Southwest confidential information in their possession to the

parties in the Private Action. As such, Southwest is unable to protect its interests other than by

seeking relief from this Court.

       Existing Parties Do Not Represent Southwest’s Interests: The Private Action Parties do

not adequately represent Southwest’s interests as they are the ones who caused this issue by

requesting “to use Investigation Materials and Litigation Materials from the Government Action

in the Private Action,” Proposed Order at 1, thereby putting Southwest’s interests at risk. And the

government plaintiffs in the Government Action, while insisting on the ability of a non-party to

object (see id. at 1-2), do not necessarily stand in the shoes of Southwest when it comes to

protecting Southwest’s information. See generally Students for Fair Admissions, Inc. v.

President and Fellows of Harvard College, 807 F.3d 472, 475 (1st Cir. 2015) (holding that

“burden of establishing inadequate representation should be treated as minimal and can be

satisfied by showing that representation of [the] interest may be inadequate”) (internal quotation

marks and citations omitted).

       Accordingly, Southwest requests intervention as of right under Rule 24(a). In the

alternative, for largely the same reasons that Southwest qualifies for intervention as of right, it

also meets the standard for permissive intervention under Rule 24(b). Under that rule, a putative

intervenor must merely show it raises questions of law and fact in common with existing parties

to the litigation and that intervention is justified in the exercise of discretion. Southwest meets

this standard for the reasons set forth above and in Southwest’s Objections. “[P]ermissive

intervention is wholly discretionary and courts may consider almost any factor rationally relevant

in its analysis.” Strahan v. Sec’y, Massachusetts Exec. Off. of Energy & Env’t Affs., No. 19-CV-



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10639-IT, 2021 WL 621202, at *7 (D. Mass. Feb. 17, 2021) (granting non-party’s motion to

intervene) (internal quotations omitted). Southwest, thus, seeks to intervene in this action in

order to protect its confidential information from disclosure.

                                          CONCLUSION

       For the foregoing reasons, Southwest respectfully requests that the Court enter an order

granting it leave to intervene in this action for the limited purpose of protecting its confidential

information.



 Dated: June 5, 2023                                     Respectfully submitted,


                                                         /s/ William H. Stallings
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                                  CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

And paper copies will be sent to those indicated as non-registered participants on June 5, 2023.

                                                      /s/ William H. Stallings
                                                      William H. Stallings




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